Case 2:93-cv-00902-RBS Document 530 Filed 11/21/18 Page 1 of 5 PageID# 4429



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division

R.M.S. TITANIC, INC.,
successor-in-interest to
Titanic Ventures, limited partnership,
              Plaintiff,

v.                                                           Civil Action No. 2:93cv902

THE WRECKED AND ABANDONED VESSEL,
ITS ENGINES, TACKLE, APPAREL,
APPURTENANCES, CARGO, ETC., LOCATED
WITHIN ONE (1) NAUTICAL MILE OF A POINT
LOCATED AT 41 43’ 32’’ NORTH LATITUDE
AND 49 56’ 49” WEST LONGITUDE,
BELIEVED TO BE THE R.M.S. TITANIC
in rem,
            Defendant.

                 NOAA’S SECOND SUPPLEMENTAL REPORT
              REGARDING RMST’S MOTION TO APPROVE ASSET
          PURCHASE AGREEMENT AND TO AUTHORIZE THE SALE OF
      100% OF RMST’S STOCK TO PREMIER ACQUISITION HOLDINGS LLC.

       The United States, as amicus, and on behalf of its National Oceanic and Atmospheric

Administration (“NOAA”) which represents the public interest in Titanic, and pursuant to

Sections VI and VII of the Covenants and Conditions (“C&Cs”) submits this second

supplemental report to the Court regarding RMST’s request to approve the sale of 100% of its

stock to Premier Acquisition Holdings LLC (“PAHL”).

       Since NOAA’s last submission, ECF No. 517, NOAA has worked diligently with the

parties to develop an order relating to the proposed sale of RMST’s stock to PAHL. On

November 16, 2018, PAHL submitted such an order to the Court. ECF Nos. 509, 509-1. NOAA

believes this Order addresses the concerns raised by the Court during the October 25, 2018,

hearing, provides appropriate protections to ensure this Court’s admiralty jurisdiction in this



                                            Page 1 of 5
Case 2:93-cv-00902-RBS Document 530 Filed 11/21/18 Page 2 of 5 PageID# 4430



matter will not be impaired, and establishes authority over PAHL as needed to ensure the Court

can enforce compliance with its orders relating to Titanic, including the Revised Covenants and

Conditions (“C&Cs”). The proposed Order speaks for itself; however, NOAA highlights four

important aspects:

       First, the proposed Order ensures this Court’s continuing admiralty jurisdiction, and its

authority over the conservation, curation, care and management of the Titanic Collections and

RMST’s salvor-in-possession status, notwithstanding any contrary or inconsistent provision in

any other document. Proposed Order, ¶¶ L and M. Further, RMST and PAHL cannot remove,

circumvent or diminish the Court’s jurisdiction by contract or through amendment of their

organizational documents or the APA. Id. ¶ I.

       Second, the Court will have in personam jurisdiction over both RMST and PAHL to

ensure RMST’s compliance with its obligations under the C&Cs and this Court’s orders relating

to Titanic, and to ensure PAHL abides by its own commitments under the order (including those

of RMST’s in certain circumstances). Id. ¶ B. Importantly, PAHL is expressly precluded from

doing anything (action or inaction) that would prevent RMST from fully complying with its

obligations relating to Titanic, and if it were to do so, PAHL then becomes directly subject to

this Court’s jurisdiction for purposes of enforcing and adjudicating compliance with the Court’s

orders. Id. ¶ C. Similarly, PAHL becomes directly subject to this Court’s jurisdiction should it

ever take any “direct right, title, possession or control over any portion of the Titanic

Collections.” Id. ¶ N.

       Third, because this Order continues to ensure full compliance with the C&Cs, and

continues to preserve this Court’s jurisdiction and authority relating to Titanic, Proposed Order,




                                             Page 2 of 5
Case 2:93-cv-00902-RBS Document 530 Filed 11/21/18 Page 3 of 5 PageID# 4431



¶¶ L and M, this Court’s “primary competence” over “any controversy or claim arising out of or

related to the” C&Cs, C&Cs VIII(B), is likewise preserved.

       Fourth, RMST and PAHL are obligated to provide the Court and NOAA at least sixty

(60) days advance notice of any action that, inter alia, will result in the Titanic Collections “no

longer being maintained together as an integral whole.” Id. ¶ G(i); see also C&Cs III(A). It is

understood that this Court does not have in rem jurisdiction over the French artifacts (a.k.a. the

1987 artifacts). The C&Cs, however, dictate obligations on RMST that encompass the French

artifacts, see e.g. C&Cs II(L), II(M), III(B), III(B)(2), III(B)(3), IV(A), IV(C), IV(D), V(C)(1),

and RMST (and PAHL, as provided for above) is subject to in personam jurisdiction in order for

the Court to enforce compliance with these terms. Because the Court and NOAA will have

advance notice of any such proposed action, the Court will have the opportunity to bring the

parties before the Court, if necessary, in order to evaluate whether any such proposed action

would prevent RMST from fulfilling those promises as to the French artifacts, and thereafter

issue any orders it deems appropriate under the circumstances and consistent with its jurisdiction.

See R.M.S. Titanic, Incorporated v. The Wrecked and Abandoned Vessel, 435 F.3d 521, 528 (4th

Cir. 2006).

       In addition to the proposed Order, PAHL filed a Declaration of Gilbert Li setting forth

certain commitments by PAHL in the event the Court approves RMST’s motion. These

commitments relate to certain additional issues NOAA had raised, and pertain to RMST

developing a) an updated business plan for the management and operation of the Titanic

Collections, b) a list of artifacts in need of conservation work and an estimated time frame for the

completion of such work, c) a collections management plan that complies with the C&Cs, and d)

an analysis of any necessary changes to the reserve account and the quarterly monthly payments.



                                            Page 3 of 5
Case 2:93-cv-00902-RBS Document 530 Filed 11/21/18 Page 4 of 5 PageID# 4432



NOAA believes each of these commitments warrants further discussion in order to establish

a timeframe and clear expectations for when and how RMST will satisfy each commitment

       In sum, NOAA believes the proposed Order PAHL filed on November 16, 2018,

addresses the concerns shared by NOAA and this Court regarding the Asset Purchase

Agreement, and provides appropriate terms to ensure this Court’s admiralty jurisdiction in this

matter will not be impaired. In addition, the proposed Order would establish jurisdiction over

PAHL as needed so this Court can enforce compliance with its orders relating to Titanic. Based

on the foregoing and considering the additional commitments agreed to through the Li

Declaration, NOAA recommends the Court approve the sale motion in accordance with the

proposed order submitted by PAHL.

                                              Respectfully submitted,

                                              G. Zachary Terwilliger
                                              United States Attorney


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                                             Page 4 of 5
Case 2:93-cv-00902-RBS Document 530 Filed 11/21/18 Page 5 of 5 PageID# 4433



                                CERTIFICATE OF SERVICE

        I hereby certify that on the 21st day of November, 2018, I will electronically file the
foregoing document with the Clerk of Court using the CM/ECF system, which will then send a
notification of electronic filing (NEF) to the following:

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                                           Page 5 of 5
